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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE



SYMBOLOGY INNOVATIONS, LLC,                     )
                                                )
                       Plaintiff,               )
                                                )   C.A. No. ___________________
       v.                                       )
                                                )
REFLEXIS SYSTEMS, INC.                          )   JURY TRIAL DEMANDED
                                                )
                       Defendant.               )
                                                )
                                                )


                ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

        1.      Symbology Innovations, LLC (“Symbology” or “Plaintiff”), by and through its

counsel, hereby brings this action for patent infringement against Reflexis Systems, Inc.

(“Reflexis Systems” or “Defendant”) alleging infringement of the following validly issued patent

(the “Patent-in-Suit”): U.S. Patent No. 8,424,752, titled “System and method for presenting

information about an object on a portable electronic device” (the “’752 Patent”), attached hereto

as Exhibit A.

                                    NATURE OF THE ACTION

        2.      This is an action for patent infringement arising under the United States Patent

Act 35 U.S.C. §§ 1 et seq., including 35 U.S.C. § 271.

                                           PARTIES

        3.      Plaintiff Symbology Innovations, LLC is a Texas company with its principal place

of business at 1400 Preston Road, Suite 400, Plano, TX 75093.

        4.      On information and belief, Defendant Reflexis Systems, Inc. is a company
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incorporated in Delaware and may be served through its registered agent The Corporation Trust

Company, Corporation Trust Center, 1209 Orange St., Wilmington, DE 19801.

                                 JURISDICTION AND VENUE

        5.     This lawsuit is a civil action for patent infringement arising under the patent laws

of the United States, 35 U.S.C. § 101 et seq. The Court has subject-matter jurisdiction pursuant

to 28 U.S.C. §§ 1331, 1332, 1338(a), and 1367.

        6.     The Court has personal jurisdiction over Defendant for the following reasons: (1)

Defendant is present within or has minimum contacts within the State of Delaware and the

District of Delaware; (2) Defendant has purposefully availed itself of the privileges of

conducting business in the State of Delaware and this district; (3) Defendant has sought

protection and benefit from the laws of the State of Delaware; and (4) Defendant regularly

conducts business within the State of Delaware and within this district, and Plaintiff’s cause of

action arises directly from Delaware’s business contacts and other activities in the State of

Delaware and in this district.

        7.     Defendant, directly and/or through intermediaries, ships, distributes, uses, offers

for sale, sells, and/or advertises products and services in the United States, the State of Delaware,

and this district including but not limited to the products which contain the infringing ’752 Patent

systems and methods as detailed below. Upon information and belief, Defendant has committed

patent infringement in the State of Delaware and in this district; Defendant solicits and has

solicited customers in the State of Delaware and in this district; and Defendant has paying

customers that are residents of the State of Delaware and this district and that use and have used

Defendant’s products and services in the State of Delaware and in this district.

        8.     Venue is proper in the District of Delaware pursuant to 28 U.S.C. §§ 1400(b).
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Defendant is incorporated in this district, has transacted business in this district, and has directly

and/or indirectly committed acts of patent infringement in this district.

                                        PATENT-IN-SUIT

        9.      The Patent-in-Suit teaches systems and methods for enabling a portable electronic

device (e.g., smartphone) to retrieve information about an object when the object’s symbology

(e.g. QR code) is detected.

        10.     The invention disclosed in the Patent-in-Suit discloses inventive concepts that

represent significant improvements in the art and are not mere routine or conventional uses of

computer components.

                                     ACCUSED PRODUCTS

        11.     Defendant makes, uses, offers for sale and sells in the U.S. products, systems,

and/or services that infringe the Patent-in-Suit, including, but not limited to certain products and

services implementing QR code functionality as described in the Patent-in-Suit (collectively, the

“Accused Products”).

                                          COUNT I
                          (Infringement of U.S. Patent No. 8,424,752)

        12.     Plaintiff incorporates by reference the allegations of paragraphs 1-11, the same as

if set forth herein.

        13.     The ’752 Patent is valid, enforceable, and was duly and legally issued by the

United States Patent and Trademark Office (“USPTO”) on April 23, 2013. The ’752 Patent is

presumed valid and enforceable. See 35 U.S.C. § 282.

        14.     Plaintiff is the owner by assignment of the ’752 Patent and possesses all rights of

recovery under the ’752 Patent, including the exclusive right enforce the ’752 Patent and pursue

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lawsuits against infringers.

        15.    Without a license or permission from Symbology, Defendant has infringed and

continues to infringe on one or more claims of the ’752 Patent—directly, contributorily, and/or

by inducement—by importing, making, using, offering for sale, or selling products and devices

that embody the patented invention, including, without limitation, one or more of the patented

’752 systems and methods, in violation of 35 U.S.C. § 271.

        Direct Infringement

        16.    Defendant has been and now is directly infringing by, among other things,

practicing all of the steps of the ’752 Patent, for example, through internal testing, quality

assurance, research and development, and troubleshooting. See Joy Techs., Inc. v. Flakt, Inc., 6

F.3d 770, 775 (Fed. Cir. 1993); see also 35 U.S.C. § 271 (2006). For instance, Defendant has

directly infringed the Patent-in-Suit by testing, configuring, and troubleshooting the functionality

of QR codes on its products and services.

        17.    By way of example, Defendant has infringed and continues to infringe at least one

or more claims of the ’204 Patent, including at least Claim 1. Attached hereto as Exhibit B is an

exemplary claim chart detailing representative infringement of claim 1 of the Patent-in-Suit.

        Induced Infringement

        18.    Defendant has been and now is indirectly infringing by way of inducing

infringement by others and/or contributing to the infringement by others of the ’752 Patent in the

State of Delaware, in this judicial District, and elsewhere in the United States, by, among other

things, making, using, offering for sale, and/or selling, without license or authority, products

affixed with QR codes that require the accused technology for intended functionality, testing,

configuration, troubleshooting, and other utilization. End users include, for example, customers,
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customers’ customers, retail store personnel, and other third parties.

        19.    Defendant took active steps to induce infringement, such as advertising an

infringing use, which supports a finding of an intention. See Metro-Goldwyn-Mayer Studios Inc.

v. Grokster, Ltd., 545 U.S. 913, 932 (2005) (“[I]t may be presumed from distribution of an article

in commerce that the distributor intended the article to be used to infringe another's patent, and

so may justly be held liable for that infringement").

        20.    The allegations herein support a finding that Defendant induced infringement of

the ’752 Patent. See Power Integrations v. Fairchild Semiconductor, 843 F.3d 1315, 1335 (Fed.

Cir. 2016)(“[W]e have affirmed induced infringement verdicts based on circumstantial evidence

of inducement [e.g., advertisements, user manuals] directed to a class of direct infringers [e.g.,

customers, end users] without requiring hard proof that any individual third-party direct infringer

was actually persuaded to infringe by that material.”).

        Contributory Infringement

        21.    On information and belief, Defendant contributorily infringes on Symbology’s

’752 Patent. Defendant knew or should have known, at the very least with the filing of this

complaint as a result of its freedom to operate analyses, that third parties, such as its customers,

would infringe the ’752 Patent by implementing Defendant’s QR code technology.

        22.    On information and belief, Defendant’s implementation of the accused

functionality has no substantial non-infringing uses. See, e.g., Lucent Techs., Inc. v. Gateway,

Inc., 580 F.3d 1301, 1321 (Fed. Cir. 2009) (holding that the “substantial non-infringing use”

element of a contributory infringement claim applies to an infringing feature or component, and

that an “infringing feature” of a product does not escape liability simply because the product as a

whole has other non-infringing uses).
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        Willful Infringement

        23.    On information and belief, the infringement of the ’752 Patent by Defendant has

been and continues to be willful. Defendant has had actual knowledge of Symbology’s rights in

the ’752 Patent and details of Defendant’s infringement based on at least the filing and service of

this complaint. Additionally, Defendant had knowledge of the ’752 Patent and its infringement in

the course of Defendant’s due diligence and freedom to operate analyses.

        Plaintiff Suffered Damages

        24.    Defendant’s acts of infringement of the ’752 Patent have caused damage to

Symbology, and Symbology is entitled to recover from Defendant the damages sustained as a

result of Defendant’s wrongful acts in an amount subject to proof at trial pursuant to 35 U.S.C.

§ 271. Defendant’s infringement of Symbology’s exclusive rights under the ’752 Patent will

continue to damage Symbology causing it irreparable harm for which there is no adequate

remedy at law, warranting an injunction from the Court.

                                   REQUEST FOR RELIEF

        25.    Symbology incorporates each of the allegations in the paragraphs above and

respectfully asks the Court to:

       (a)     enter a judgment that Defendant has directly infringed, contributorily infringed,

       and/or induced infringement of one or more claims of each of the ’752 Patent;

       (b)     enter a judgment awarding Symbology all damages adequate to compensate it for

       Defendant’s infringement of, direct or contributory, or inducement to infringe, the

       including all pre-judgment and post-judgment interest at the maximum rate permitted by

       law;

       (c)     enter a judgment awarding treble damages pursuant to 35 U.S.C. § 284 for
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       Defendant’s willful infringement of the ’752 Patent

       (d)    issue a preliminary injunction and thereafter a permanent injunction enjoining and

       restraining Defendant, its directors, officers, agents, servants, employees, and those

       acting in privity or in concert with them, and their subsidiaries, divisions, successors, and

       assigns, from further acts of infringement, contributory infringement, or inducement of

       infringement of the ’752 Patent;

       (e)    enter a judgment requiring Defendant to pay the costs of this action, including all

       disbursements, and attorneys’ fees as provided by 35 U.S.C. § 285, together with

       prejudgment interest; and

       (f)    award Symbology all other relief that the Court may deem just and proper.



Dated: January 14, 2020                      Respectfully submitted,


                                             /s/Stamatios Stamoulis
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                               LLC
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